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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Uniformed Fire Officers Association, et al.,
                              Plaintiffs,
               -against-
Bill de Blasio, in his official capacity as Mayor of      Case No. 1:20-cv-05441-KPF
the City of New York, et al.,
                              Defendants,
Communities United for Police Reform,
                              Intervenor-Defendant.


                           NOTICE OF INTERLOCUTORY APPEAL

       NOTICE IS HEREBY GIVEN that Intervenor-Defendant Communities United for Police

Reform (CPR) appeals to the United States Court of Appeals for the Second Circuit from the

district court’s August 21, 2020 order, Dkt. 197, denying-in-part-and-granting-in-part Plaintiffs’

request for a preliminary injunction. CPR appeals to protect concrete interests established by

CPR’s Motion to Intervene and supporting declarations, Dkts. 42-48, as well as pending requests

under New York Freedom of Information Law, N.Y. Pub. Officers law § 87 et seq., covering

records currently subject to the district court’s preliminary injunction.
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Dated: New York, New York
       September 21, 2020

                                      Respectfully submitted,

                                     /s/ Alex V. Chachkes

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